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                                                                                   2012 Jun-25 PM 12:49
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

RICHARD SALAZAR,                           )
                                           )
      Plaintiff,                           )
                                           )
vs.                                        )      Case Number: CV 12-S-1748-NE
                                           )
WELLS FARGO BANK,                          )
NATIONAL ASSOCIATION,                      )
a/k/a WELLS FARGO BANK,                    )
N.A., et al.,                              )
                                           )
      Defendants.                          )

                                      ORDER

      A review of the record in this case reveals that the complaint in this case,

although docketed by the Clerk as a new civil action, is actually a copy of the

complaint filed in Civil Action No. CV 12-S-1735-NE, entitled Richard Salazar vs.

Wells Fargo Bank, National Association, a/k/a Wells Fargo Bank, N.A. and Federal

Home Loan Mortgage Corporation, a/k/a Freddie Mac. Therefore, the Clerk is

directed to close this file and to make all documents in this case a part of the record

in Civil Action No. CV 12-S-1735-NE.

      DONE and ORDERED this 25th day of June, 2012.



                                               ______________________________
                                               United States District Judge
